     Case: 1:22-cv-00188 Document #: 24 Filed: 03/02/22 Page 1 of 1 PageID #:440




            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS


Forest River Farms                     )
                                       )            Case No: 22 C 188
v.                                     )
                                       )            Judge: Martha M. Pacold
Deere & Co., d/b/a John Deere          )

                                      ORDER

Daniel C. Hedlund’s motion for leave to appear pro hac vice on behalf of Forest River
Farms [20] is granted. Michelle J. Looby’s motion for leave to appear pro hac vice on
behalf of Forest River Farms [21] is granted. Kaitlyn L. Dennis’s motion for leave to
appear pro hac vice on behalf of Forest River Farms [22] is granted. Daniel E.
Gustafson’s motion for leave to appear pro hac vice on behalf of Forest River Farms
[23] is granted.

Date: March 2, 2022                          /s/ Martha M. Pacold
